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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA

                          Case No. 4:21-cv-00480-MW-MAF
KAREN LUCKADO,

      Plaintiff,

v.

EL SHADDAI MOTEL GROUP, LLC, a Florida
limited liability company; HERON HOUSE
APARTMENTS OF STEINHATCHEE, LLC, a
Florida limited liability company; PRETORIUS
FAMILY, LLC, a Florida limited liability
Company; SUSANNA CREAMER a/k/a SUSAN
PRICE, an individual; FLOYD E. CREAMER,
an individual, and MARCELO CUNHA, an
individual

      Defendants.
                                          /

               JOINT MOTION TO APPROVE SETTLEMENT
             AGREEMENT AND TO DISMISS WITH PREJUDICE

      Plaintiff, Karen Luckado, and Defendants, El Shaddai Motel Group, LLC,

Heron House Apartments of Steinhatchee, LLC, Pretorius Family, LLC, Susanna

Creamer, Floyd E. Creamer, and Marcelo Cunha, by and through their respective

undersigned counsel, hereby file this Joint Motion to Approve Settlement Agreement

and to Dismiss with Prejudice, and state the following in support thereof:


      The Plaintiff’s case arises under the Fair Labor Standards Act (“FLSA”), 29

U.S.C. §201 et seq. for unpaid minimum and overtime wages. See Complaint (ECF

1). The Plaintiff has also brought a claim for minimum wages under the Florida

Constitution’s Minimum Wage Amendment (“FMWA”), Art. X §24 Fla. Const. Id.

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      The Plaintiff alleges she was employed at the Defendants’ various apartments

and inns near Steinhatchee, Florida. Despite working about seven days per week, and

working about 70 hours per week, the Plaintiff alleges the Defendants paid her only

$100.00 per week. See Complaint at ¶¶23-25.

      The Defendants’ Answer (ECF 6) denies virtually all the Plaintiff’s allegations

take the position that their businesses were not covered by the FLSA or the Florida

Minimum Wage Amendment. See Affirmative Defense # 4 (ECF ). Besides the

Parties arguing whether there is the existence of FLSA coverage or whether an

employment relationship existed between the Parties, there exist numerous factual

disputes including, but not limited to:

      (a)    the number of hours worked by Plaintiff;

      (b)    whether the Plaintiff performed work for any business other than Heron

             House Apartments of Steinhatchee, LLC.

      (c)    whether the Plaintiff was an “independent contractor,” or rather, an

             “employee”; even if the Plaintiff was an “employee,” Defendants claim

             it was only for one of the Defendants—not all of them;

      (d)    whether the individual Defendants have liability, as they claim to have

             lacked the necessary supervision/oversight required for personal liability;

      (e)    whether the Plaintiff worked overtime hours even if she is found to be an

             employee of one or more of the Defendants;

      (f)    whether Defendants willfully violated the FLSA;

      (g)    whether the Plaintiff is entitled to liquidated damages; and,
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      (h)     whether the Defendants’ records comply with the FLSA’s recordkeeping

              provisions.

      The Parties, through their counsel, were involved in extensive settlement

negotiations, over several months, and in-depth discussions about the case. After

significant litigation, including motion practice related to discovery, and based on

discussions between counsel, analysis, and exchange of information, the parties

stipulate and represent that there is a bona fide dispute between the Parties regarding

the merits of Plaintiff’s case, the back wages and relief claimed therein.

      Notably, the Defendants argue that the motels/apartments where the Plaintiff

alleges to have worked are “mom and pop” small businesses. Thus, the Defendants

claim to have limited financial resources even if the Plaintiff prevails on all or some of

her claims.    Even if the Plaintiff were able to prevail for more money than the

settlement reached herein, significant financial constraints would exist, not to mention

potential collection problems.

      Based on the facts and arguments discussed and presented between the Parties,

Plaintiff and Defendants have agreed to resolve this case in its entirety on terms which

they mutually stipulate and agree are fair, reasonable, and adequate.

      Accordingly, Defendants agreed to pay the sum of $91,000.00 to resolve this

case (comprised of $37,250 in wages; $37,250 in liquidated damages and $16,500 as

attorneys’ fees and costs). The amount Defendants agreed to pay for the

aforementioned attorney’s fees and costs in this case was agreed upon separately from



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the amounts it agreed to pay the Plaintiff. A copy of the Settlement Agreement is

attached to this Motion as Exhibit A.

                                    DISCUSSION

      A compromised FLSA settlement becomes final and enforceable if it is

supervised by either the Department of Labor or a court. See Lynn’s Food Stores, Inc. v.

United States Department of Labor, 679 F.2d 1350, 1353 (11th Cir. 1982). Before

approving an FLSA settlement, a court must scrutinize it to determine if it constitutes

a fair and reasonable resolution of a bona fide dispute. Id. at 1354-55. If the settlement

reflects a reasonable compromise over issues that are actually in dispute, the Court

may approve the settlement. Id.

      With respect to attorney’s fees and costs, scrutiny is not required where the

Parties stipulate that the sum to be paid “was agreed upon separately and without

regard to the amount paid to the plaintiff.” Bonetti v. Embarq Management Co., 715

F.Supp.2d 1222, 1228 (M.D.Fla.2009). Where such a stipulation is made, and the

settlement is otherwise reasonable on its face, there is no reason to conclude that the

Plaintiff’s recovery “was adversely affected by the amount of fees paid to his attorney.”

Id.

      The amount of Plaintiff’s recovery represented a compromise based upon a bona

fide dispute as to the issues of FLSA coverage, whether wages are owed to Plaintiff,

and the number of hours worked by Plaintiff. Had the Defendants proven a lack of

coverage under the FLSA, the Plaintiff would have received nothing. Similarly, had


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the Defendants shown that the Plaintiff was not an FLSA “employee” the Plaintiff

would not have received anything for her minimum wage and overtime claims—even

if she proved to have worked hours in excess of 40 per week. Alternatively, even if the

Plaintiff had prevailed, her ability to collect a judgment, if at all, would depend on the

financial resources of the Defendants.

      WHEREFORE, the Parties respectfully request that this Court enter an Order

approving the attached Settlement Agreement, retain jurisdiction to enforce the

Defendants’ payment obligations, and dismiss this action with prejudice.

          Respectfully submitted this 27th day of June, 2022 by:



   /s/ Peter Bober                              /s/ Jesse Unruh
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